800 F.2d 260Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stanley Joseph Callis, Plaintiff-Appellant,v.Larry JONES, Commonwealth Attorney, Brunswick County;Commonwealth of Virginia;  Investigator Edmunds;Investigator Whittermore, BrunswickCounty Sheriff's Office,Defendants-Appellees.
    No. 86-7587.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 12, 1986.Decided Sept. 8, 1986.
    
      Stanley Joseph Callis, appellant pro se.
      Frank David Harris, Harris &amp; Matthews, Peter Harris Rudy, Office of the Attorney General, for appellees.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL, SPROUSE and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Callis v. Jones, C/A No. 85-214-N (E.D.Va.  April 23, 1986).
    
    
      2
      AFFIRMED.
    
    